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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                           LITTLE ROCK DIVISION

UNITED STATES                                                              PLAINTIFF


V.                              NO. 4:15CR00276-KGB-4

EVONE AVANCE                                                            DEFENDANTS


                                       ORDER

      Pending before the Court is the Government’s Motion for Revocation of Release

and for Summons (Doc. 180). For good cause shown, the request for issuance of

summons is GRANTED. The Clerk is directed to issue summons to defendant Evone

Avance for appearance at a hearing before Magistrate Judge Patricia S. Harris on January

26, 2016, at 10:00 a.m. to show cause why her release should not be revoked.

      IT IS SO ORDERED this 21st day of January, 2016.



                                        ____________________________________
                                        UNITED STATES MAGISTRATE JUDGE
